Case 1:OO-cv-01217-.]DT-STA Document 87 Filed 06/14/05 Page 1 of 2 Page|D 99

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IN THE UNITED STATES DISTRICT COURT “ /)§/
FOR THE WESTERN DISTRICT OF TENNES§EE l 3

EASTERN DIVISION `"’ ~»’KJ§,»/é " ` §»
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upon the relation and for the use of the , ,: 305 LT}'/,;-h_
TENNESSEE vALLEY AUTHORITY, ` »" /;1/_;’ O§OZ,@
'C’Y?$“Or;ff

P1aintiff,
vs. No. 00-1217 T/An

STEAM MILL FERRY PARTNERS,
et al.,

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Defendants.

 

ORDER SETTING SETTLEMENT CONFERENCE

 

On April 28, 2005, United States District Judge J ames D. Todd referred this action to the
Magistrate Judge for a settlement conference The undersigned conducted a Settlement
conference on Friday, June 10, 2005, and it is ORDERED that the settlement conference should
reconvene before United States Magistrate Judge S. Thomas Anderson on FRIDAY, JULY 21,
2005 at 9:30 A.M. in at the United States Courthouse, l ll S. Highland Avenue, Jackson,
Tennessee. All counsel of record shall be required to attend the Settlement conference1

lT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGIS'I`RATE JUDGE

Date: Q'M /§/,_ 200{
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lBeceuse he is retired, Plaintist attorney Mr. Kenneth D. Mielke shall not be required to attend the
settlement Conference.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 1:00-CV-012]7 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Richard W. Vaughn
HARRIS & VAUGHN
1089 West Van Hook St.
l\/lilan7 TN 38358

Kenneth D. Mielke

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KnoX\/ille7 TN 37902--140

C. Mark Donahoe

HARDEE MARTIN DAUSTER & DONAHOE
P.O. Box 98

Jacl<son7 TN 38302

EdWin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KnoX\/ille7 TN 37902--140

Honorable .l ames Todd
US DISTRICT COURT

